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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


MATTHEW MAYNARD, and MAYNARD                     §
INVESTMENT GROUP, LLC d/b/a                      §
Discount Sport Nutrition,                        §
                                                 §
                                  Plaintiffs,    §
                                                 §
v.                                               §       Civil Action No. 3:18-CV-0259-D
                                                 §
PAYPAL, INC. and PAYPAL HOLDINGS,                §
INC.,                                            §
                                                 §
                                Defendants.      §

                        UNOPPOSED MOTION TO WITHDRAW

        COMES NOW, Cassie J. Dallas and requests that the Court enter an order permitting her

to withdraw as additional counsel for Plaintiffs Matthew Maynard (“Maynard”) and Maynard

Investment Group, LLC d/b/a Discount Sport Nutrition (“DSN”) (collectively “Plaintiffs”) and in

support thereof respectfully states:

        1.     Attorney Jeffrey R. Duffey of The Law Office of Jeffrey R. Duffey,

4925 Greenville Ave. Ste. 200, Dallas, Texas 75206, is the primary attorney of record for

Plaintiffs. He is familiar with the facts of the case, participated in the Rule 26(f) conference, and

has prepared the vast majority of the pleadings, motions, and responses filed in this case.

        2.     Ms. Dallas of the law firm Thompson, Coe, Cousins & Irons, LLP previously

appeared as additional counsel for Plaintiffs in this lawsuit.

        3.     Ms. Dallas and her law firm request that the Court enter an order permitting her

and her firm to withdraw as additional counsel in the referenced case. See Matter of Wynn, 889

F.2d 644, 646 (5th Cir. 1989) (the decision to permit an attorney to withdraw is “entrusted to the


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sound discretion” of the district court). Ms. Dallas has advised the Plaintiffs of the proposed

withdrawal, and the Plaintiffs have consented to such withdrawal.

        4.         This case is not set for trial, and Ms. Dallas’s withdrawal from this case will have

no adverse effect on any of the parties to this lawsuit because Mr. Duffey will continue as

counsel for Plaintiffs.

        5.         Plaintiffs consent to the withdrawal of Ms. Dallas and her law firm.

        6.         Counsel for Defendants does not oppose this motion to withdraw.

        WHEREFORE, Premises Considered, Cassie J. Dallas requests that the Court enter an

order allowing her to withdraw as additional counsel for Plaintiffs, direct the Court’s clerk to

note the withdrawal of counsel in its records, and for all further relief to which Ms. Dallas is

justly entitled.




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                                   Respectfully submitted,

                                   By: /s/ Cassie J. Dallas

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                                   ATTORNEYS FOR PLAINTIFFS, MATTHEW
                                   MAYNARD & MAYNARD INVESTMENT GROUP,
                                   LLC D/B/A DISCOUNT SPORT NUTRITION




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                             CERTIFICATE OF CONFERENCE

        I hereby certify that on August 12, 2019, I conferred with opposing counsel, William B.
Start, by telephone concerning the filing of this motion. Mr. Stark stated that Defendants are
unopposed to the relief requested.

                                               /s/ Cassie J. Dallas
                                              Cassie J. Dallas




                                 CERTIFICATE OF SERVICE

        On August 16, 2019, I electronically submitted the foregoing document with the Clerk of
Court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

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                                               /s/ Cassie J. Dallas
                                              Cassie J. Dallas




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